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                                                     ***Highly Confidential***
                                            Requested [REDACTED] O&O Revenue Data

                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015       1 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       1 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]



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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015       2 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       2 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       3 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015       4 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       4 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015       5 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       5 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       6 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015       7 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       7 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015       8 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       8 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015       9 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015       9 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015      10 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015      11 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015      11 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2015      12 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2015      12 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016       1 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       1 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       2 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016       3 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       3 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016       4 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       4 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016       5 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       5 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016       6 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       6 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       7 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016       8 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       8 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016       9 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016       9 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016      10 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016      10 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016      11 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      11 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2016      12 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2016      12 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017       1 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       1 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017       2 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       2 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       3 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017       4 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       4 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017       5 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       5 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017       6 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       6 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017       7 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       7 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017       8 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       8 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017       9 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017       9 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017      10 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      10 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017      11 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      11 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2017      12 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2017      12 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       1 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       1 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       2 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       2 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       3 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       3 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       4 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       4 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       5 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       5 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       6 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       6 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       7 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       7 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       8 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       8 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018       9 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018       9 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      10 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018      11 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      11 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2018      12 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2018      12 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       1 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       1 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       2 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       2 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       3 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       3 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       4 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       4 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       5 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       5 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       6 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       6 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       7 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          amplify pre-roll (rtb)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       7 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       8 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       8 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019       9 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019       9 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019      10 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      10 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019      11 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      11 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2019      12 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2019      12 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2020       1 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       1 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2020       2 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       2 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2020       3 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       3 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       4 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2020       4 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       5 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2020       6 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          legacy                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       6 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2020       7 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       7 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          subscription                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]


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                                        Type of                                                     # Monetizable
   Year      Month     Geography                          Campaign Objective          Revenue                       # Impressions
                                      Transaction                                                   Engagements
      2020       8 Rest of World   auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   fixed price      first views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 Rest of World   fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          amplify pre-roll                [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          amplify sponsorships pre-roll   [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          app installs                    [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          app re-engagements              [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          followers                       [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          quick promote                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          reach                           [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          reach (video)                   [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          tweet engagements               [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          video views                     [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          website clicks                  [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          website clicks (video)          [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          website conversions             [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              auction          website conversions (video)     [REDACTED]   [REDACTED]         [REDACTED]
      2020       8 US              fixed price      trends                          [REDACTED]   [REDACTED]         [REDACTED]




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